      Case 2:18-cr-00422-DJH Document 1575 Filed 04/18/23 Page 1 of 1



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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-18-00422-002-PHX-DJH
10                   Plaintiff,                       ORDER
11   v.
12   James Larkin,
13                   Defendant.
14
15         Upon consideration of Defendant James Larkin’s Unopposed Motion to Amend
16   Conditions of Release (Doc. 1574) and finding good cause appearing,

17         IT IS ORDERED granting the Motion (Doc. 1574) and Defendant’s conditions
18   of release are hereby amended to remove the location monitoring technology, condition.

19         IT IS FURTHER ORDERED affirming all previously imposed conditions of

20   release unless otherwise ordered by the Court.
21         The Court finds there is no excludable delay.
22         Dated this 18th day of April, 2023.

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25                                                Honorable Diane J. Humetewa
                                                  United States District Judge
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